Case 1:18-cv-01258-JRS-TAB Document 31 Filed 04/12/19 Page 1 of 1 PageID #: 123



                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 ADAM ROSS,
           Plaintiff,                                CASE NO. 1:18-cv-01258-JRS-TAB

 v.

 BALL STATE UNIVERSITY,
           Defendant.

                                              ORDER

        The Defendant, by counsel, having filed its Motion to Extend the Dispositive Motions

 Deadline and to Continue the Trial Date, and the Court being duly advised in the premises, finds

 that said Motion should be granted.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the Court that the

 dispositive motions deadline is extended to August 2, 2019.

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED by the Court that the

 November 26, 2019, Final Pre-Trial Conference in this matter is rescheduled to April 2, 2020 at

 9:00 a.m. in Room 246, U.S. Courthouse, 46 E. Ohio Street, Indianapolis, IN; and the December

 16, 2019, Jury Trial is rescheduled to April 20, 2020 at 9:00 a.m. n Room 246, U.S. Courthouse,

 46 E. Ohio Street, Indianapolis, IN.

 SO ORDERED.


Date: 4/12/2019




 Service will be made electronically on all
 ECF-registered counsel of record via email
 generated by the court’s ECF system
